     Case: 1:20-cv-02613 Document #: 49 Filed: 08/28/20 Page 1 of 2 PageID #:3614




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

NIKE, INC.,
                                                     Case No. 20-cv-02613
               Plaintiff,
                                                     Judge Charles P. Kocoras
v.
                                                     Magistrate Judge Sunil R. Harjani
333STRONGER, et al.,
               Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on July 8, 2020 [45], in favor of

Plaintiff Nike, Inc. (“Plaintiff” or “Nike”) and against the Defendants Identified in Schedule A in

the amount of five hundred thousand dollars ($500,000) per Defaulting Defendant for willful use

of counterfeit Nike Trademarks in connection with the offer for sale and/or sale of products

through at least the Defendant Internet Stores, and Nike acknowledges payment of an agreed upon

damages amount, costs, and interest and desires to release this judgment and hereby fully and

completely satisfy the same as to the following Defendants:

                Defendant Name                                      Line No.
                  GD-HARU                                              38
                   Lindsay's                                           81
               PATEZIM FASHION                                        114
                    Vivivan                                           138
                Wangyafenclothing                                     144

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants are hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
   Case: 1:20-cv-02613 Document #: 49 Filed: 08/28/20 Page 2 of 2 PageID #:3615




Dated this 28th day of August 2020.   Respectfully submitted,

                                      /s/ RiKaleigh C. Johnson
                                      Amy C. Ziegler
                                      Justin R. Gaudio
                                      RiKaleigh C. Johnson
                                      Greer, Burns & Crain, Ltd.
                                      300 South Wacker Drive, Suite 2500
                                      Chicago, Illinois 60606
                                      312.360.0080 / 312.360.9315 (facsimile)
                                      aziegler@gbc.law
                                      jgaudio@gbc.law
                                      rjohnson@gbc.law

                                      Counsel for Plaintiff Nike, Inc.




                                         2
